     Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                                                  Page 1 of 19 PageID 271


                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF IOWA
                                              CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                                                    §
                                                                             §             CIVIL ACTION NO. 18-CV-3047
          Plaintiff,                                                         §
                                                                             §
v.                                                                           §
                                                                             §         DEFENDANT KEITH DRIVER’S
LESLIE A. WULF, BRUCE A. HALL,                                               §       BRIEF IN SUPPORT OF MOTION TO
JAMES REA, JOHN E. REA, and KEITH                                            §        TRANSFER VENUE AND 12(b)(6)
DRIVER,                                                                      §             MOTION TO DISMISS
                                                                             §
          Defendants.                                                        §

           Pursuant to Local Rules 7, Defendant Keith Driver (“Driver”) files this Brief in Support of

 his Motion to Transfer Venue and 12(b)(6) Motion to Dismiss.

                                                       TABLE OF CONTENTS

 TABLE OF CONTENTS ................................................................................................................ 1
 MOTION TO TRANSFER VENUE .............................................................................................. 2
      I. The Parties’ Forum-Selection Clause Requires Transfer.................................................... 3
      II. The Forum Selection Provision Applies to VeroBlue’s Allegations against Defendants. . 4
      III. The Statutory Factors Under § 1404(a) Weigh in Favor of Transferring this Case to the
           Northern District of Texas. ................................................................................................. 6
           A. The Forum Selection Provision Outweighs any Convenience to Parties and Witnesses
              of Proceeding in Iowa..................................................................................................... 6
           B. The Interests of Justice Weigh in Favor of Transfer to the Texas District Court. ......... 7
 MOTION TO DISMISS ................................................................................................................. 8
      I. Legal Standard for Rule 12(b)(6) Motions to Dismiss. ...................................................... 8
      II. VeroBlue’s Complaint Overall Fails to State Any Claim Upon Which May be Granted
          Because Plaintiff Employs an Impermissible Style of Pleading. ...................................... 11
      III. Fraudulent Conduct Complained of is Not Sufficiently Plead (Counts II, III, IV, and V).
           ........................................................................................................................................... 14
           A. Plaintiff Fails to Sufficiently Allege that Any Purported Conduct was Fraudulent,
              False, or Misleading. .................................................................................................... 14
      IV. VeroBlue’s Claims Against Driver are Barred by VeroBlue’s Release in the Business
          Relationship Restructuring Agreement. ............................................................................ 16
           A. VeroBlue Released All Claims Against Driver. ........................................................... 16


 DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                                                                PAGE 1
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                                            Page 2 of 19 PageID 272


CONCLUSION ............................................................................................................................. 18

          Defendant Keith Driver (“Driver”) files this Brief in Support of his Motion to Transfer

Venue and 12(b)(6) Motion to Dismiss, filed contemporaneously herewith and incorporated

herein, and in support would respectfully show the Court as follows:

                                          MOTION TO TRANSFER VENUE

          The Court should transfer this action pursuant to 28 U.S.C. § 1404(a) because Plaintiff

brought its Complaint in a venue that is not the exclusive venue agreed upon by the parties for any

claims arising out of Driver’s employment or Release Agreement, such as the claims pled in the

Amended Complaint. 28 U.S.C. § 1404(a) provides, “For the convenience of parties and witnesses,

in the interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought . . . .” The parties agreed to a mandatory forum-selection clause,

which requires venue in Texas.

           In assessing a motion to transfer under 28 U.S.C. § 1404, this Court must weigh: (1) the

convenience of the parties; (2) the convenience of the witnesses; and (3) the interests of justice.

Terra Internat’l., Inc. v. Mississippi Chem. Corp., 119 F. 3d 688, 691 (8th Cir. 1997). Although

typically the party seeking transfer bears the burden of proving that transfer is warranted, when a

forum selection clause is at issue, then the burden shifts to the party trying to avoid the

contractually chosen venue. High Plains Const., Inc. v. Gay, 831 F. Supp. 2d 1089, 1099 (S.D.

Iowa 2011) (citing Terra Internat’l, 119 F. 3d at 691). But before shifting the burden, this Court

must first determine whether the forum selection clause proposed is enforceable and applicable to

the claims before it. Zamora Entertainment, Inc. v. William Morris Endeavor Ent., LLC, 667 F.

Supp. 2d 1032, 1036 (S.D. Iowa 2009).




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                                                    PAGE 2
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 3 of 19 PageID 273


  I.   The Parties’ Forum-Selection Clause Requires Transfer.

       In general, a forum selection clause is enforceable unless it is found to be invalid or its

enforcement would be unjust or unreasonable. M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1,

15 (1972); Marano Enters, of Kan. v. Z-Teca Rests., L.P., 254 F.3d 753, 757 (8th Cir. 2001) (noting

that general allegations of fraudulent inducement were insufficient to render the forum-selection

clause unenforceable unless the clause was itself the product of fraud or coercion). A forum

selection clause “should control absent a strong showing that it should be set aside.” M/S Bremen,

407 U.S. at 15. A choice of forum made in an “arm’s-length negotiation by experienced and

sophisticated businessmen” should be honored by the parties and enforced by the courts “absent

some compelling and countervailing reason.” Id. at 12. In order for a forum selection clause to be

unenforceable, VeroBlue must establish that “enforcement would be unreasonable and unjust” or

that the clause is “invalid for such reasons as fraud or overreaching.” Id. at 15. It is “incumbent on

the party seeking to escape his contract to show that trial in the contractual forum will be so gravely

difficult and inconvenient that he will for all practical purposes be deprived of his day in court.”

Id. at 18. Given VeroBlue’s signature to both the Release Agreements, it is unlikely that Plaintiff

challenges the general validity of the forum-selection clauses contained therein. Moreover, Release

Agreements were drafted by VeroBlue when its principal place of business was in Plano, Texas.

(App. 48; 55). Thus, it was reasonable for both VeroBlue and Driver to expect that the VeroBlue

would choose to pursue and defend litigation in north Texas.

       Moreover, the language of the forum-selection clauses create mandatory and exclusive

venue in the Northern District of Texas. (App. 55) (“Each Party irrevocably submits to the

exclusive jurisdiction of the Federal District Court for the Northern District of Texas” and “Each

Party agrees to commence any action, suit or other proceeding relating to this Agreement” in the

Northern District of Texas). Generally speaking, the circuits that have addressed whether to


DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                   PAGE 3
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                 Page 4 of 19 PageID 274


enforce mandatory forum selection clauses similar to the one here agree: where venue is specified

in a forum selection clause with mandatory or obligatory language, the clause will be enforced.

K & V Sci. Co., Inc. v. Bayerische Motoren Werke Aktiengesellschaft (“BMW'”), 314 F.3d 494,

499 (10th Cir. 2002) (citing Paper Express, Ltd. v. Pfankuch Maschinen GmbH, 972 F.2d 753, 757

(7th Cir.1992); John Boutari & Son, Wines & Spirits, S.A. v. Attiki Imp. & Distrib. Inc., 22 F.3d

51, 52 (2d Cir.1994); Docksider, Ltd. v. Sea Tech., Ltd., 875 F.2d 762, 764 (9th Cir. 1989)).

       There is no argument that the forum selection provisions in the Release Agreement

selecting the Northern District of Texas as the exclusive forum for disputes between VeroBlue and

Defendants should not be enforced against VeroBlue. Terra Internat’l., 119 F. 3d at 695 (finding

parties could have anticipated tort claims being governed by forum selection provision at time of

contracting).

 II.   The Forum Selection Provision Applies to VeroBlue’s Allegations against Defendants.

       VeroBlue artfully avoided referring to the Release Agreement in its Amended Complaint,

perhaps to avoid the forum selection provision it drafted. “Strategic or artfully drawn pleadings,

however, will not work to circumvent an otherwise applicable forum selection clause.” Terra

Internat’l., 119 F. 3d at 695. The clauses expressly apply to “any suit, action or other proceeding

relating to this [Release] Agreement.” (App. 0052). The Employment and Release Agreement

cover Driver’s employment with VeroBlue as well as his stock ownership in the Company. (App.

0033-0063). Importantly, the Release Agreement includes a release that applies to “any and all

charges, complaints, claims, liabilities, obligations, promises, agreements, controversies,

damages actions, cause of action, suits, rights, demands, costs, losses debts and expenses … of

any nature whatsoever, known or unknown” against VeroBlue and its affiliates or against Driver.

(App. 0052). Certainly, if Driver and VeroBlue’s releases can extend to anything occurring prior




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                               PAGE 4
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                  Page 5 of 19 PageID 275


to Driver’s termination, then the forum selection provisions in those very same agreements should

be constructed to extend to actions taken prior to his termination as well.

       All of VeroBlue’ allegations involve actions that Driver and the other defendants took

while employees and officers of VeroBlue. For example:

   •   Defendants “directed” VeroBlue to transfer 1.25M shares of its Canada affiliate to Bajjer
       (App. 0005, ¶ 15)
   •   VeroBlue employee oversaw the reconstruction of the Wulf Lake House and VeroBlue
       funded housing for her nearby (App. 0007, ¶ 23);
   •   Defendants directed VeroBlue to set their compensation at $400k annually (App. 0007-
       0008, ¶ 27);
   •   Defendants handled VeroBlue’s money with “general recklessness” (App. 0009, ¶ 35);
   •   Defendants “orchestrated VeroBlue’s expenditure of funds” for their personal benefit,
       including travel expenses, cell phones, vehicles leases, etc. (App. 0010, ¶ 39); and
   •   Defendants mismanaged capital expenditures, business plans, overpaid for real estate,
       squandered investments, and wasted corporate assets (App. 0011, ¶ 41.)

       Driver could only have allegedly committed each of these acts of misfeasance while acting

as COO of VeroBlue, even though he was only COO for six months, otherwise he would not have

had access to VeroBlue’s funds or property. If Driver’s employment relationship with VeroBlue

had not been terminated, then VeroBlue’s claims would undoubtedly arise under Driver’s

Employment Agreement. High Plains Constr., 831 F. Supp. 2d at 1100 (applying forum selection

clause in dealer agreement to claim for tortious interference because tort claim, ultimately

depended on existence of a contract between the parties). Since the Release Agreement was

designed to terminate the parties’ entire “business relationship,” it applies to all actions taken by

Driver during his tenure as COO of VeroBlue. VeroBlue’s claims thus arise out of Driver’s

employment and, therefore, also arise out of the Release Agreement which mandates that the

Northern District of Texas hear this case. See Terra Internat’l., 119 F. 3d at 695 (applying forum

selection provision in emissions technology license agreement to tort claims arising from

explosion at fertilizer plant using technology).



DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                 PAGE 5
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                  Page 6 of 19 PageID 276


III.   The Statutory Factors Under § 1404(a) Weigh in Favor of Transferring this Case to
       the Northern District of Texas.

       Because there is an exclusive forum selection provision here, the burden falls to VeroBlue

to prove why the forum selection clause should not be enforced. Returning to the analysis required

by §1404, transfer is warranted where the convenience of the parties and witnesses and the interests

of justice support it. High Plains, 831 F. Supp. 2d at 1103. These factors weigh in favor of transfer

to the Northern District of Texas here.

               The Forum Selection Provision Outweighs any Convenience to Parties and
               Witnesses of Proceeding in Iowa.

       The convenience of the parties and witnesses is belied by the existence of the exclusive

forum selection provision also.     VeroBlue cannot argue that it will be inconvenienced by

proceeding with suit in the very forum that it selected in the Release Agreement. As the U.S.

Supreme Court stated:

       Whatever ‘inconvenience’ plaintiff would suffer by being forced to litigate in the
       contractual forum as it agreed to do was clearly foreseeable at the time of
       contracting. In such circumstances it should be incumbent on the party seeking to
       escape its contract to show that trial in the contractual forum will be so gravely
       difficult and inconvenient that it will for all practical purposes be deprived of its
       day in court. Absent that, there is no basis for concluding that it would be unfair,
       unjust, or unreasonable to hold that party to its bargain.

M/S Bremen, 407 U.S. at 17-18. For almost four years, VeroBlue’s principal place of business was

in Plano, Texas. (App. 0032, ¶ 5). That only changed in April 2018, when VeroBlue renewed its

registration with the Nevada Secretary of State indicating that its new principal office was in

Webster City, Iowa. Although the company records may now be in Iowa, all the witnesses to

Driver’s alleged misfeasance remain in Texas. All other Defendants except for Driver, all

individuals, reside in the Northern District of Texas. (App. 0032, ¶ 6). VeroBlue’s outside

corporate counsel, Rick Dahlson, who documented many of the transactions that are at issue in the

Complaint, practices at the firm of Jackson Walker in Dallas, Texas. Defendant Wulf’s lakehouse,


DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                   PAGE 6
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                  Page 7 of 19 PageID 277


referenced in Paragraphs 21-23 of the Amended Complaint, is in Texas. The only allegations

relevant to conduct that took place in Iowa are James Rea’s purchase of a home in Webster City

and VeroBlue’s purchase of certain tractor trailers that are being stored at the company’s Webster

City farm.

       Many of the witnesses, who are former employees and officers of VeroBlue live in or near

north Texas. Anyone who is currently employed by VeroBlue is certainly within VeroBlue’s

control and would not need to be subpoenaed to appear at trial. But almost any witness that

Defendants were to call, would be outside of the Iowa district court’s subpoena power. Four of

the five Defendants live in North Texas, most of the allegations at issue took place there, and

Plaintiff only recently became headquartered in Iowa, therefore, VeroBlue simply cannot show

that proceeding in the Northern District of Texas will be so “gravely difficult and inconvenient”

that it will be deprived of its day in court. M/S Bremen, 407 U.S. at 17-18.

               The Interests of Justice Weigh in Favor of Transfer to the Texas District Court.

       The interests of justice are also best served by transferring this matter to the Northern

District of Texas. Factors relevant to weighing the interests of justice include: (1) judicial

economy; (2) plaintiff’s choice of forum; (3) comparative costs to each party of litigating in each

forum; (4) each party’s ability to enforce a judgment; (5) obstacles to a fair trial; (6) conflict of

law issues; and (7) advantages of having a local court determine questions of local law. Terra

Internat’l., 119 F. 3d at 696.

       Plaintiff’s choice of forum bears little weight here since there is an enforceable, exclusive,

and mandatory forum selection provision in favor of Texas. Moreover, VeroBlue is a Nevada

corporation, which for the last four years, had its principal office in Plano, Texas. Its connection

to the Northern District of Iowa is tenuous and limited.




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                 PAGE 7
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 8 of 19 PageID 278


       Defendants’ costs of litigating in Iowa far outweigh the costs to VeroBlue of litigating in

Texas. All Defendants other than Driver reside in Texas and will have to travel to Iowa for court

appearances and trial. Driver’s counsel is also located in Texas. VeroBlue’s counsel is located in

Chicago, Illinois, and therefore, will have to travel regardless of where the case proceeds.

VeroBlue’s witnesses will likely include many employees located in Texas and its corporate

counsel, who is in Dallas. At best, this factor is neutral because it would merely shift costs from

one party to another. Terra Internat’l., 119 F. 3d at 696-97.

       Transfer here is between two federal district courts, thus, there can be little concern for fair

trial in either location. Fimco, Inc. v. Funk, No. C16-4109-LTS, 2016 WL 7106520 at #5 (N.D.

Iowa Dec. 5, 2016). Similarly, because VeroBlue is a Nevada corporation, its claims will be

governed by Nevada law. Neither the Iowa district court nor the Texas district court has any

advantage in applying Nevada law. Id. (noting that federal district courts of Iowa or Nebraska were

equally capable of applying South Dakota law).

       In sum, most of the interests of justice factors are neutral, but judicial economy and access

to witnesses clearly weighs in favor of Texas. The forum selection provision in Driver’s Release

Agreement is a “significant factor[] that figures centrally in the district’s court’s calculus in a

motion to transfer.” Terra Internat’l., 119 F.3d at 697. These other factors simply do not present

a “compelling and countervailing reason” why the forum selection provision should not be

enforced. M/S/ Bremen, 407 U.S. at 12. Accordingly, pursuant to 28 U.S.C. §1404, this matter

should be transferred to the Northern District of Texas for all further proceedings.

                                     MOTION TO DISMISS

  I.   Legal Standard for Rule 12(b)(6) Motions to Dismiss.

       For most claims, Rule 8 of the Federal Rules of Civil Procedure requires that a plaintiff

plead “a short and plain statement of the claim showing that the pleader is entitled to relief.” FED.


DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                   PAGE 8
  Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                    Page 9 of 19 PageID 279


R. CIV. P. 8(a)(2). However, when the claims involve fraud, as in this case, the complaint must

also satisfy Rule 9(b), which requires that “a party must state with particularity the circumstances

constituting fraud[.]” FED. R. CIV. P. 9(b). “The particularity requirement of Rule 9(b) ‘has been

strictly applied in the context of securities fraud litigation as a means of deterring frivolous suits.’”

Jakobe v. Rawlings Sporting Goods Co., 943 F. Supp. 1143, 1152 (E.D. Mo. 1996) (quoting

Weisburgh v. St. Jude Medical, Inc., 158 F.R.D. 638, 642 (D. Minn. 1994), aff’d, 62 F.3d 1422

(8th Cir. 1995)). Also, “where, as here, ‘multiple defendants are asked to respond to allegations of

fraud, the complaint should inform each defendant of the nature of his [or her] alleged participation

in the fraud.’” In re Parmalat Securities Litigation, 479 F. Supp. 2d 332, 340 (S.D.N.Y. 2007)

(citation omitted); see also, e.g., Lillard v. Stockton, 267 F. Supp. 2d 1081, 1094 (N.D. Okla. 2003)

(“[W]here fraud is alleged against multiple defendants, blanket allegations of fraud couched in

language such as ‘by the defendants’ are insufficient. Instead, the specifics of the alleged

fraudulent activity of each defendant must be set forth.”).

        In Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), the Supreme Court expressly

“retired” the 50-year old statement in Conley v. Gibson, 355 U.S. 41, 45-46 (1957), that “a

complaint should not be dismissed for failure to state a claim unless it appears beyond doubt that

the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.” As

stated by the Supreme Court, “after puzzling the profession for 50 years, this famous observation

has earned its retirement. The phrase is best forgotten as an incomplete, negative gloss on an

accepted pleading standard: once a claim has been stated adequately, it may be supported by

showing any set of facts consistent with the allegations in the complaint.” Twombly, 127 S. Ct. at

1969. Instead, “Rule 8(a)(2) . . . requires a ‘showing,’ rather than a blanket assertion, of entitlement

to relief. Without some factual allegation in the complaint, it is hard to see how a claimant could




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                     PAGE 9
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 10 of 19 PageID 280


satisfy the requirement of providing not only ‘fair notice’ of the nature of the claim, but also

‘grounds’ on which the claim rests.” Id. at 1965 n.3. “Rule 8(a) ‘contemplate[s] the statement of

circumstances, occurrences, and events in support of the claim presented’ and does not authorize

a pleader’s ‘bare averment that he wants relief and is entitled to it.’” Id. at 1965 n.3 (quoting 5 C.

Wright & A. Miller, FEDERAL PRACTICE AND PROCEDURE § 1202, at 94, 95 (3d ed. 2004)). “While

a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations . . . a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Id. at 1964-65 (citations omitted). “Factual allegations must be enough to raise

a right to relief above the speculative level,” and “‘the pleading must contain something more . . .

than . . . a statement of facts that merely creates a suspicion [of] a legally cognizable right of

action.’” Id. at 1965 (quoting 5 C. Wright & A. Miller, Federal Practice and Procedure § 1216, at

235-36). “Labels and conclusions” or “a formulaic recitation of the elements of a cause of action”

are insufficient to withstand a motion to dismiss.” Twombly, 127 S. Ct. at 1964-65. When

reviewing a complaint under Rule 12(b)(6), the Court must “construe the complaint in the light

most favorable to the nonmoving party.” Carton v. Gen. Motors Acceptance Corp., 611 F.3d 451,

454 (8th Cir. 2010); see also Broadcast Music, Inc. v. MWS, LLC, 2012 WL 368736, at **1-2

(E.D. Mo. Feb. 3, 2012). “Although the pleading standard is liberal, the plaintiff must allege facts

– not mere legal conclusions – that, if true, would support the existence of the claimed torts.”

Moses.com Securities v. Comprehensive Software Systems, Inc., 406 F.3d. 1052, 1062 (8th Cir.

2005) (citing Schaller Tel. Co. v. Golden Sky Systems, 298 F.3d. 736, 740 (8th Cir. 2002)); see

also Benton v. Merrill Lynch & Co., Inc., 524 F.3d 866, 870 (8th Cir. 2008) (“[w]here the

allegations show on the face of the complaint there is some insuperable bar to relief, dismissal




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                 PAGE 10
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 11 of 19 PageID 281


under Rule 12(b)(6) is appropriate”) (citing Parnes v. Gateway 2000, Inc., 122 F.3d 539, 546 (8th

Cir. 1997)).

       Further, on a motion to dismiss, courts “are not bound to accept as true a legal conclusion

couched as a factual allegation.” Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 2944

(1986). In deciding whether a claim for relief is supported, a court must consider only the facts

that are alleged, and not un-alleged facts that a plaintiff might later prove. Assoc. Contractors of

California, Inc. v. California State Council of Carpenters, 459 U.S. 519, 526, 103 S. Ct. 897, 902

(1983). As the Eighth Circuit recently explained, “to survive a motion to dismiss, the factual

allegations in a complaint, assumed true, must suffice ‘to state a claim to relief that is plausible on

its face.’” See Northern Valley Communications, LLC v. Qwest Communications Co., LLC, 2012

WL 523683, at *2 (D.S.D. Feb. 16, 2012) (unpublished) (quoting Ritchie v. St. Louis Jewish Light,

630 F.3d 713, 716 (8th Cir. 2011) (in turn quoting Northstar Indus., Inc. v. Merrill Lynch & Co.,

576 F.3d 827, 832 (8th Cir. 2009))).

 II.   VeroBlue’s Complaint Overall Fails to State Any Claim Upon Which May be Granted
       Because Plaintiff Employs an Impermissible Style of Pleading.

       Veroblue’s Complaint inappropriately engages in “shotgun” and/or “puzzle” pleading and

should be dismissed as a whole. “Shotgun” pleadings are those that “incorporate all or nearly all

antecedent allegation by reference to each subsequent claim for relief or affirmative defense,”

leaving the court and defendants to parse which allegations support which claims. See S.E.C. v.

Fraser, 2010 WL 5776401, at *14 (D. Ariz. Jan. 28, 2010) (unpublished) (internal quotations and

citations omitted) (dismissing certain SEC claims for relief where the complaint engages in

shotgun pleading). “Puzzle” pleadings require the court and the defendant to match alleged

statements with the reason they are false or misleading. S.E.C. v. Fraser, 2009 WL 2450508, at

*14 (D. Ariz. Aug. 11, 2009) (unpublished) (citation omitted). Courts have stated that a complaint



DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                  PAGE 11
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                  Page 12 of 19 PageID 282


relying on shotgun or puzzle pleading fails to meet the particularity requirements of Rule 9(b). Id.

(quoting Teamsters Local 617 Pension and Welfare Funds v. Apollo Group, Inc., 617 F. Supp. 2d

763, 784 (D. Ariz. 2009), vacated on other grounds, 690 F. Supp. 2d 959 (D. Ariz. 2009)); see

also Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir. 2006) (noting that the

complaint at issue was a shotgun pleading “incorporating every antecedent allegation by reference

into each subsequent claim for relief”); In re Metro. Sec. Litig., 532 F. Supp. 2d 1260, 1279 (E.D.

Wash. 2007).

       In Wagner, the court concluded that the central problem was that the factual particularity

of the previously stated allegations was “not connected to the otherwise generally pled claim in

any meaningful way.” Wagner, 464 F.3d at 1279. The problem, the court stated, “was not that

Plaintiffs did not allege enough facts, or failed to recite magic words; the problem lay in the fact

that while Plaintiffs introduced a great deal of factual allegations, the amended complaint did not

clearly link any of those facts to its causes of action.” Id. at 1280. In similar fashion, VeroBlue’s

Amended Complaint in this case jumbles together a host of allegations with little organization and

no specificity to Mr. Driver. At times, VeroBlue cites to specific actions and transactions as

evidence that the Defendants engaged in fraudulent conduct, never specifying whether Mr. Driver

participated in the actions or transactions. (App. 0003-0011, ¶¶ 11-42). VeroBlue routinely refers

to “Defendants” generically, rather than alleging specific facts regarding how Mr. Driver in

particular misled or defrauded VeroBlue. (App. 0003-0011, ¶¶ 11-42). VeroBlue’s style of

pleading unfortunately forces Mr. Driver and the Court to comb through the Complaint, determine

which fraud or deceit was allegedly perpetrated by Mr. Driver or the other Defendants, determine

which misrepresentations or omissions were made by which Defendant(s), and then evaluate the

adequacy of that factual support as to the various claims against the Defendants. No list or chart is




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                PAGE 12
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                     Page 13 of 19 PageID 283


provided that would identify for each claim which Defendant(s) committed the fraud or deceit or

which Defendant(s) participated in which action or transaction. This is especially problematic,

here, where most of the allegations involve conduct that occurred while Driver did not even work

for VeroBlue. VeroBlue’s parroting of the language of various causes of actions leaves Defendants

and this Court with the task of parsing the Complaint and inferring what specific conduct VeroBlue

might believe to be a violation of the law. See Fraser, 2009 WL 2450508, at *14. Indeed, this

Court is tasked with “untangling which (if any) act(s) engaged in by which (if any) defendant(s)

applies to which (if any) claim(s).” Id. at *13.

        Moreover, VeroBlue brings nine causes of actions against Driver relating to fraud. The

style of pleading used by VeroBlue is inappropriate for a complaint alleging multiple charges of

fraud against multiple defendants. For this reason alone, the Complaint should be dismissed.

Indeed, one court recently noted that district courts are encouraged to dismiss “shotgun”

complaints as they impermissibly burden the trial court: “The typical shotgun complaint contains

several counts, each one incorporating by reference the allegations of its predecessors, leading to

a situation where most of the counts (i.e., all but the first) contain irrelevant factual allegations and

legal conclusions.” Strategic Income Fund v. Spear, Leeds & Kellogg, 305 F.3d 1293, 1295 n. 9

(11th Cir. 2002). Shotgun complaints impose a heavy burden on the trial court because it must sift

through each and every count to determine which allegations are relevant to the cause of action

purportedly stated. United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1354 (11th Cir. 2006).

District courts are encouraged to dismiss such complaints, as permitting such pleadings results in

much more judicial labor in the long run. Johnson Ent. of Jacksonville, Inc. v. FPL Group, Inc.,

162 F.3d 1290, 1333 (11th Cir. 1998); see also S.E.C. v. Mercury Interactive, 2008 WL 4544443,

at *8 (N.D. Cal. Sept. 30, 2008) (explaining that shotgun pleading makes it “difficult to discern




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                   PAGE 13
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 14 of 19 PageID 284


which filings form the bases for each claim”); S.E.C. v. Patel, 2009 WL 2015794, at **1-2 (D.

N.H. July 7, 2009) (criticizing this pleading style because “to reasonably determine that any

particular claim should not be dismissed would require the court to first comb the complaint in

search of factual support for each element of the multiple claims pled as to each defendant, and

then evaluate the adequacy of that factual support,” which “is, of course, plaintiff’s job in the first

instance, not the court’s.”).

        While VeroBlue finds it sufficient to simply cross-reference the same 42 paragraphs of its

Complaint under each of the nine causes of action charged against Driver, its failure to plead with

particularity concerning the factual allegations as they relate to the specific causes of action cited

in the Complaint reveals a yet greater failing of the Complaint: a general inability to plead with

the particularity required in order to enable this Court to conclude that Driver did indeed commit

fraud actionable under Iowa law.

III.    Fraudulent Conduct Complained of is Not Sufficiently Plead (Counts II, III, IV, and
        V).

        As already noted, Plaintiff’s Counts II, III, IV, and V merely parrot the factors of each

cause of action allegedly violated. Many of the counts contain no identification whatsoever of the

conduct which allegedly violated the law by which defendant, other than to incorporate by

reference the entire Complaint. The counts simply recite the boilerplate language, and the

Defendants are left to scour through the Complaint’s vague factual narrative to guess what conduct

by which Defendant supposedly comprised these fraudulent actions, misrepresentations or

omissions.

                Plaintiff Fails to Sufficiently Allege that Any Purported Conduct was Fraudulent,
                False, or Misleading.

        Moreover, the factual allegations themselves are not pled with the particularity required in

a complaint alleging multiple counts of fraud against numerous defendants. The Plaintiff


DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                  PAGE 14
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                  Page 15 of 19 PageID 285


complains generally of facts that were “concealed” from VeroBlue and/or “misrepresented.” Rule

9(b) provides that “[i]n all averments of fraud or mistake, the circumstances constituting fraud or

mistake shall be stated with particularity.” FED. R. CIV. P. 9(b). The Eighth Circuit has applied

Rule 9(b) strictly, requiring details as to any alleged misrepresentations:

       This Court has explained that, for Rule 9(b), “‘[c]ircumstances’ include such
       matters as the time, place and contents of false representations, as well as the
       identity of the person making the misrepresentation and what was obtained or given
       up thereby.... [C]onclusory allegations that a defendant’s conduct was fraudulent
       and deceptive are not sufficient to satisfy the rule.” Commercial Property Invs., Inc.
       v. Quality Inns Int'l, Inc., 61 F.3d 639, 644 (8th Cir. 1995) (quotations and citations
       omitted); see also DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th Cir. 1990)
       (“[T]he circumstances [constituting fraud] must be pleaded in detail. This means
       the who, what, when, where, and how: the first paragraph of any newspaper story.
       None of this appears in the complaint, although the flood of information released
       about Continental Bank since 1984 offers ample fodder if there is indeed a tale to
       tell.” (quotations omitted)); . . . In re Lifecore Biomedical, Inc. Sec. Litig., 159
       F.R.D. 513, 516 (D. Minn. 1993) (Rule 9(b) requires that “the complaint must
       allege the time, place, speaker and sometimes even the content of the alleged
       misrepresentation.”). Where “allegations of fraud are explicitly or, as in this case,
       implicitly, based only on information and belief, the complaint must set forth the
       source of the information and the reasons for the belief.” Romani v. Shearson
       Lehman Hutton, 929 F.2d 875, 878 (1st Cir. 1991).

Parnes v. Gateway 2000, Inc., 122 F.3d 539, 549–50 (8th Cir. 1997)(some citations omitted). In

Parnes, the court dismissed the plaintiffs’ securities fraud claims under Rule 9(b). Id. at 550 (“The

Plaintiffs provide the barest clue as to when the alleged fraud took place, and the Defendants are

left to guess which controlling shareholders were responsible for this alleged fraud. Neither this

nor the Plaintiffs’ other allegations of fraud meet Rule 9(b)’s particularity requirements, and the

district court properly struck them.”). These strict pleading requirements apply equally to

omissions. See Stewart v. Fry, 575 F. Supp. 753, 756 (E.D. Mo. 1983) (“there must be a specific

identification of what statements were made in what reports and in what respects they were false,

misleading or inaccurate or what omissions were made and why the statements made are believed

to be misleading.’”)(citation omitted).



DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                PAGE 15
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                    Page 16 of 19 PageID 286


         In this case, the Complaint fails to satisfy the Eighth Circuit’s stringent pleading standards

for Counts II, III, IV, and V. The Plaintiff fails to identify the “circumstances” of the alleged

fraudulent concealment, misrepresentations, constructive fraud, and conspiracy to commit fraud –

the “time, place and contents of false representations, as well as the identity of the person making

the misrepresentation and what was obtained or given up thereby.” Parnes, 122 F.3d at 549. For

example, the Complaint states that “Defendants’ silence in the face of their duties to disclose their

misconduct alleged herein to VeroBlue and its shareholders, constitutes fraudulent

misrepresentation of the material facts alleged in Count II.” (App. 0015, ¶ 58). There is no specific

information as to the time(s), identity of person(s) making the misrepresentations, or contents of

these alleged representations. Accordingly, Plaintiff’s Amended Complaint should be dismissed

due to Plaintiff’s failure to plead Counts II, III, IV, and V with the particularity required by this

Court.

IV.      VeroBlue’s Claims Against Driver are Barred by VeroBlue’s Release in the Business
         Relationship Restructuring Agreement.

         Driver further moves to dismiss all causes of actions against him in the Amended

Complaint because the plain and unambiguous terms of the Release Agreement bar VeroBlue from

bringing such claims. Whether the Amended Complaint should be dismissed based on Release

Agreement should be analyzed under Texas law because the language specifically states “This

Agreement shall be governed by and construed in accordance with the internal laws of the State of

Texas, regardless of the laws that might otherwise govern the applicable principles of conflicts of

law thereof.” (App. 0055).

                VeroBlue Released All Claims Against Driver.

         A release extinguishes a claim or cause of action and is an absolute bar to any right of

action on the released matter. D.R. Horton-Texas, Ltd. v. Savannah Properties Associates, L.P.,



DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                  PAGE 16
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                   Page 17 of 19 PageID 287


416 S.W.3d 217, 226 (Tex. App.—Fort Worth 2013, no pet.) (citing Dresser Indus., Inc. v. Page

Petroleum, Inc., 853 S.W.2d 505, 508 (Tex. 1993); see also Keck, Mahin & Cate v. Nat'/ Union

Fire Ins. Co. of Pittsburgh, Pa., 20 S.W.3d 692, 698 (Tex. 2000); Victoria Bank & Trust Co. v.

Brady, 811 S.W.2d 931, 938 (Tex. 1991); Nat'/ Union Fire Ins. Co. of Pittsburgh, Pa. v. Ins. Co.

of N. Am., 955 S.W.2d 120, 127 (Tex. App.—Houston [14th Dist.] 1997), affd, 20 S.W.3d 692

(Tex. 2000). It is not necessary, however, for the parties to anticipate and explicitly identify every

potential cause of action relating to the subject matter of the release. Savannah, 416 S.W.3d at 226.

Although releases include claims existing at the time of execution, they may also include unknown

claims and damages that develop in the future. Id.

       Here, the Release Agreement specifically states that as of January 7, 2017, VeroBlue:

       hereby irrevocably and unconditionally release, acquit and forever discharge
       [Driver] from any and all charges, complaints, claims, liabilities, obligations,
       promises, agreements, controversies, damages, actions, causes of action, suits,
       rights, demands, costs, losses, known or unknown . . . which the [VeroBlue]
       Releasees now have, own, hold, or to which the [VeroBlue] Releasees at any time
       heretofore had, owned, or held against [Driver], including, without limitation, the
       Egregious Cause Claims.

(App. 0052). “Egregious Cause Claims” is narrowly defined as Driver failing to maintain his main

office in Dallas, Texas and Driver engaging in “other business interests and engagements outside

of [VeroBlue]. (App. 0049). The broad language chosen by the parties establishes the intent for

the Release Agreement to be complete, full, and final. Therefore, the Release Agreement precludes

all claims Plaintiff has asserted against Driver in this case. See, e.g., D.R. Horton-Texas, 416

S.W.3d at 227 (holding that release of “all past, present, or future claims, actions, demands, and

causes of action, of whatever kind or character, known or unknown, asserted or unasserted” with

respect to certain contracts and property barred claims for breach of contract, warranty, and

negligence relating to the same contracts and property).




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                                 PAGE 17
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                 Page 18 of 19 PageID 288


       Out of all the vague actions allegedly taken by all of the Defendants, the only facts that

VeroBlue alleges occurred after it released Driver from any and all causes of actions are on January

13, 2017:

            1. Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or around
               July 2017. (App. 0007, ¶ 23).
            2. VeroBlue employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of the
               Wulf Lake House, and VeroBlue paid her to do so at an annual cost to VeroBlue of
               approximately $97,500, which represented Arbanas’ compensation and benefits.
               Further, VeroBlue funded housing for Arbanas close to the lake house, and
               refreshments for the construction crew on this project. All told, VeroBlue incurred
               approximately $107,490.51 for compensation and benefits to Arbanas. (App. 0007,
               ¶ 24).
            3. Defendants paid for James Rea’s personal living expenses in Ames, Iowa, about
               forty miles from Webster City, Iowa in or around August 2017 from VeroBlue’s
               funds. (App. 0010, ¶ 39(c)).
            4. Defendants sold a home in Webster City, Iowa for less than what it purchased it for
               on May 25, 2018. (App. 0010, ¶ 39(h)).
            5. Plaintiff purchased, at the direction of some or all Defendants, of a building and
               underlying property unnecessary to VeroBlue’s business and located in Webster
               City for $400,000 on July 28, 2016, which VeroBlue sold for $135,000 on April
               13, 2018. (App. 0011, ¶ 41).

       As all of the foregoing actions were taken, Driver was not an officer or director of

VeroBlue, was merely acting as a consultant to VeroBlue, owed no duties to VeroBlue, and was

not involved in the actions. (App. 0031-0033). In fact, Plaintiff does not allege that Driver was

involved at all in many of the listed actions occurring after January 13, 2017.

(App. 0003-0030).

       Accordingly, the Court should dismiss Plaintiff’s First Amended Complaint because

VeroBlue released all claims brought against Driver by executing the Release Agreement.

                                         CONCLUSION

       For the foregoing reasons, as well as those set forth in Driver’s Motion to Transfer Venue

and 12(b)(6) Motion to Dismiss, the Court should transfer Plaintiff’s Amended Complaint to the

United States District Court of the Northern District of Texas pursuant to the mandatory forum



DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                               PAGE 18
 Case 3:19-cv-00764-X Document 20-1 Filed 10/15/18                Page 19 of 19 PageID 289


selection clauses covering the claims made in the Amended Complaint. Alternatively, Plaintiff’s

claims against Driver should be dismissed for failure to state a claim in its inadequate pleadings

and because all claims brought against Driver in the Amended Complaint were released in the

Release Agreement.

                                             Respectfully submitted,


                                             By:    /s/ Stacie M. Codr
                                                    Stacie M. Codr
                                                    scodr@finleylaw.com
                                                    Finley Law Firm, P.C.
                                                    699 Walnut Street, Suite 1700
                                                    Des Moines, IA 50309
                                                    Telephone: (515) 288-0145

                                                    R. Heath Cheek
                                                    State Bar No. 24053141
                                                    hcheek@bellnunnally.com
                                                    Katie R. Beaird
                                                    Texas Bar No. 24092099
                                                    kbeaird@bellnunnally.com
                                                    Pro Hac Vice Pending
                                                    Bell Nunnally & Martin LLP
                                                    2323 Ross Avenue, Suite 1900
                                                    Dallas, TX 75201
                                                    Telephone: (214) 740-1400
                                                    Telecopy: (214) 740-1499

                                             ATTORNEYS FOR DEFENDANT
                                             KEITH DRIVER

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of records for all parties via ECF Service.

          DATED this 15th day of October, 2018.

                                                    /s/ Joseph Moser
4060476_1.docx // 10700.1




DEF. DRIVER’S BRIEF ON MOTIONS TO TRANSFER VENUE AND DISMISS                             PAGE 19
